         Case 1:19-cr-00018-ABJ Document 198 Filed 09/06/19 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                 Case No.: 1:19-CR-00018-ABJ


UNITED STATES OF AMERICA,

               Plaintiff,

v.

ROGER J. STONE, JR.,

            Defendant.
______________________________/
                                             ORDER

        Upon consideration of defendant Roger J. Stone, Jr.’s Unopposed Motion to

Modify Permission to Travel [Dkt. # 195], the motion is GRANTED.

       It is ORDERED that the defendant may travel to Rochester, New York, on September

12, 2019, as part of his approved travel. Defendant shall provide Pretrial Services with a copy of

this Order and his specific travel itinerary for the trip prior to his departure from the Southern

District of Florida. Defendant may not travel to any location aside from that set out above and

must contact Pretrial Services within the first business day by telephone upon his return.

       SO ORDERED.



                                                           _________________________
                                                           AMY BERMAN JACKSON
                                                           United States District Judge



 Date: September 6, 2019
